Case 1:19-cv-24166-FAM Document 1 Entered on FLSD Docket 10/09/2019 Page 1 of 5



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                       MIAMI DIVISION

                           CASE NO.: ______________________

 MALEY DACOSTA,

        Plaintiff,

 vs.

 THE CITY OF HIALEAH, a Political
 Subdivision, and JESUS “JESSE” MENOCALL,
 JR., an individual,

      Defendants.
 _____________________________/

                                   NOTICE OF REMOVAL

        The Defendant, CITY OF HIALEAH (“City”), by and through its undersigned

 counsel, hereby files this Notice of Removal in the above-styled cause to the United

 States District Court, Southern District of Florida, on the following grounds:

        1.      This cause was originally filed by the Plaintiff, Maley Dacosta (“Plaintiff”) in

 the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida,

 as Case No. 19-017287-CA-01.

        2.      This is a civil action predicated, in part, on 42 U.S.C. §1983 and Defendants’

 alleged violations of Plaintiff’s rights under the Fourth, Fifth, Sixth, and Fourteenth

 Amendments of the U.S. Constitution. Plaintiff’s Complaint (“Compl.”) at p. 2, ¶5, attached

 hereto as Exhibit A.

        3.      Specifically, Plaintiff alleges that, on June 14, 2015, she was pretextually

 stopped by Defendant, Menocal – a City employee – falsely arrested, held against her
Case 1:19-cv-24166-FAM Document 1 Entered on FLSD Docket 10/09/2019 Page 2 of 5



 will, and sexually assaulted. Id. at pp. 1 and 2, ¶¶ 2-8.

        4.     Plaintiff further alleges that, at the time Menocal was engaged in the

 aforementioned conduct, he was “acting under color of [state] law, to wit: the statutes,

 ordinances, regulations, policies, customs, and usage of the State of Florida”. Id. at p. 3,

 ¶16.

        5.      28 U.S.C. §1331 confers original jurisdiction on the federal courts for “all

 “civil actions arising under the Constitution, laws, or treaties of the United States”. See

 Louisville & Nashville R.R. v. Mottley, 211 U.S. 149, 152 (1908). (noting that it is sufficient

 if a federal question appears on the face of the plaintiff's well-pleaded complaint).

        6.     As a general rule, a case “arises under” federal law if federal law creates

 the cause of action, or if a substantial disputed issue of federal law is a necessary element

 of a state law claim. Franchise Tax Bd. v. Construction Laborers Vacation Trust, 463 U.S.

 1, 9–10 (1983).

        7.     However, it is not enough that a plaintiff merely reference federal statutes

 in their complaint. See, e.g., Miccosukee Tribe of Indians of Fl. v. Kraus-Anderson Const.

 Co., 607 F.3d 1268, 1273 (11th Cir. 2010) (“a mere incantation that the cause of action

 involves a federal question is not always sufficient” (citations omitted)).

        8.     Instead, to vest a district court with federal question jurisdiction, a plaintiff’s

 complaint “must claim a right to recover under the Constitution and laws of the United

 States” Id. (quoting Bell v. Hood, 327 U.S. 678, 681 (1946) and Murphy v. Inexco Oil Co.,

 611 F.2d 570, 573 (5th Cir. 1980)).

        9.     Here, Plaintiff expressly and indisputably claims rights under the U.S.

 Constitution (“[t]his action arises under federal law and the Fourth, Fifth, Sixth, and



                                                2
Case 1:19-cv-24166-FAM Document 1 Entered on FLSD Docket 10/09/2019 Page 3 of 5



 Fourteenth Amendments to the United States Constitution”) and, in Count III, she asserts

 a cause of action for an alleged violation of 42 U.S.C. §1983. Compl. at pp. 2 and 6.

        10.    Generally, to state a claim under §1983, a plaintiff must plead that: (1) they

 were deprived of a Constitutionally protected right; and (2) the alleged deprivation was

 committed under color of state law. See, e.g., Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526

 U.S. 40, 50 (1999); see also Rayburn v. Hogue, 241 F.3d 1341, 1348 (11th Cir. 2001).

 Plaintiff’s Complaint contains both of these allegations. See Id. at p. 6, ¶52.

        11.    Thus, the instant suit is one over which a U.S. District Court has original,

 federal question subject matter jurisdiction. Moreover, the fact that Plaintiff has also

 asserted state law claims in her Complaint does divest this court of jurisdiction or defeat

 the City’s right to remove.

        12.    To the contrary, 28 U.S.C. §1367(a) makes clear that “in any civil action

 [over] which the district courts have original jurisdiction, [they] shall have supplemental

 jurisdiction over all other claims that are so related to claims in the action within such

 original jurisdiction that they form part of the same case or controversy under Article III”.

        13.    Here, Plaintiff’s state law claims for false arrest, battery, negligent

 supervision and retention, intentional infliction of emotional distress, negligent infliction of

 emotional distress, and negligence are all so related to her Section 1983 claim that they

 form part of the same Article III case or controversy.

        14.    Accordingly, this Court may properly exercise supplemental jurisdiction over

 her state law claims. See, e.g., Parker v. Scrap Metal Processors, Inc., 468 F.3d 733,

 742-43 (11th Cir. 2006)(noting that the “case or controversy” standard in §1367(a)




                                                3
Case 1:19-cv-24166-FAM Document 1 Entered on FLSD Docket 10/09/2019 Page 4 of 5



 “confers supplemental jurisdiction over all state claims which arise out of a common

 nucleus of operative fact with a substantial federal claim”).

        15.    Moreover, this Notice is timely filed. The removal of this cause is authorized

 by the provisions of 28 U.S.C. §1441(c). It became removable on the date the City was

 served with Plaintiff’s Complaint (i.e., on September 13, 2019), allowing the City thirty

 (30) days or until October 13, 2019 to file its Notice of Removal. 28 U.S.C. §1446(b).

        16.    Written notice of the filing of the Notice of Removal, on this date, has been

 given to Plaintiff through her attorney and a copy of this Notice has been filed with the

 Clerk of the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County,

 Florida. 28 U.S.C. §1446(d).

        17.    In addition, while unanimity among properly joined and served defendants

 ordinarily is a precondition to removal, the other named defendant in this action, JESUS

 “JESSE” MENOCAL, JR., has not yet been properly served and, therefore, his joinder

 and/or consent is not required. See 28 U.S.C. §1446(b)(2)(A)(“all defendants who have

 been properly joined and served must join in or consent to the removal of the action); see

 also GMFS, L.L.C. v. Bounds, 275 F. Supp. 2d 1350, 1353 (S.D. Ala. 2003)(unserved co-

 defendant need not consent); City of Hialeah’s Notice of Improper Service dated

 September 27, 2019, attached as Exhibit B. Despite providing Plaintiff with information

 concerning a time and location to effect service of process on the Co-Defendant, Plaintiff

 has failed to do so.

        18.    Lastly, the City has attached hereto and filed herewith as Composite

 Exhibit C, the docket from the state court action, and copies of all process, pleadings,

 and papers served and filed in the aforementioned state court action, which are not



                                              4
Case 1:19-cv-24166-FAM Document 1 Entered on FLSD Docket 10/09/2019 Page 5 of 5



 otherwise attached as exhibits to this Notice of Removal. 28 U.S.C. §1446(a).

        WHEREFORE, the Defendant, THE CITY OF HIALEAH, respectfully requests that

 this Court assume jurisdiction of this case pursuant to its original federal question subject

 matter jurisdiction.

                                CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY on this 9th day of October, 2019 the undersigned filed the
 foregoing with the Clerk of the Court for the United States District Court, Southern District
 of Florida, by using the CM/ECF system and served by email to to: ANTHONY M.
 GEORGES-PIERRE, ESQ., Remer & Georges-Pierre, PLLC, Counsel for Plaintiff, 44
 West Flagler St., Ste. 2200, Miami, FL 33130.

                                           BOWMAN AND BROOKE LLP
                                           Attorneys for Defendant
                                           THE CITY OF HIALEAH

                                       By: /s/ Christine L. Welstead
                                            Christine L. Welstead, Esq. (FBN# 970956)
                                            Christine.welstead@bowmanandbrooke.com
                                            Carolina S. Pinero, Esq. (FBN#119335)
                                            Carolina.pinero@bowmanandbrooke.com
                                            Two Alhambra Plaza, Ste. 800
                                            Miami, Florida 33134
                                            Tel: (305) 995-5600; Fax: (305) 995-6100




                                              5
